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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,     )          CR. NO. 06-00079 DAE
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
NAEEM J. WILLIAMS,            )
                              )
          Defendant.          )
_____________________________ )



      ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
  MOTION FOR ORDER FOR INSPECTION AND COPYING OF COURT’S JURY
       RECORDS AND DENYING THE GOVERNMENT’S MOTION TO COMPEL
  DEFENDANT NAEEM WILLIAMS TO DISCLOSE WHICH ETHNIC MINORITIES
    HE ALLEGES WERE UNDERREPRESENTED IN GRAND JURY PANEL 05-I

               Before the Court is Defendant Naeem J. Williams’

(“Defendant”) Motion for Order for Inspection and Copying of

Court’s Jury Records (“Inspection Motion”), filed February 5,

2007, and the United States of America’s (“the Government”)

Motion to Compel Defendant Naeem Williams to Disclose which

Ethnic Minorities He Alleges Were Underrepresented in Grand Jury

Panel 05-I (“Motion to Compel”), filed April 2, 2007.             The

Government filed its response to the Inspection Motion on

February 23, 2007, and Defendant filed his reply on March 1,

2007.       The Government filed a supplemental response on April 2,

2007 and Defendant filed a reply to the supplemental response on

April 11, 2007.1      Defendant filed an opposition to the Motion to


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            On March 28, 2007, this Court granted the Government’s
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Compel on April 11, 2007, and the Government filed its reply on

April 13, 2007.       These matters came on for hearing on April 19,

2007.       Appearing on behalf of Defendant, who was present, were

John Philipsborn, Esq., and David Klein, Esq., and appearing on

behalf of the Government were Marshall Silverberg, Assistant

United States Attorney, and Gabriel Colwell, Special Assistant

United States Attorney.        After careful consideration of the

motions, supporting and opposing memoranda, and the arguments of

counsel, Defendant’s Inspection Motion is HEREBY GRANTED IN PART

and DENIED IN PART, and the Government’s Motion to Compel is

HEREBY DENIED for the reasons set forth below.

                                 BACKGROUND

               The parties and the Court are familiar with the factual

and procedural background in this case.         This Court will

therefore only address the events that are relevant to the

motions currently before the Court.

               On February 15, 2006, the grand jury issued an

Indictment in the instant case, charging Defendant with first

degree murder, in violation of 18 U.S.C. §§ 1111(a), (b), and

7(3).       The Indictment included notice of three death-qualifying

special findings within the meaning of 18 U.S.C. § 3591(a), and

two aggravating factors within the meaning of 18 U.S.C. §


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      (...continued)
motion for leave to file a supplemental response and also gave
Defendant leave to file a reply to the supplemental response.

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3592(c).     On September 8, 2006, the Government filed its Notice

of Intent to Seek the Death Penalty as to Defendant Naeem J.

Williams.     On October 12, 2006, the grand jury issued a four-

count First Superceding Indictment against both Defendant and

Delilah Williams.       On October 26, 2006, the Government filed an

Amended Notice of Intent to Seek the Death Penalty as to

Defendant Naeem J. Williams.

I.      Inspection Motion

             In his Inspection Motion, Defendant states that he is

preparing a motion challenging the district court’s jury

selection procedures.       To assist him in this process, Defendant

requests various jury records pursuant to the Jury Selection and

Service Act of 1968, 28 U.S.C. § 1861, et seq. (“the Act”), Test

v. United States, 420 U.S. 28 (1975), and case law interpreting

the Act.     Some of the specific items he requests are: any JS-12

reports, or their equivalent, containing information about the

composition and characteristics of jurors in this district from

2004 through the grand juries that indicted Defendant; if no such

reports exist, the juror questionnaires; a copy of the master

jury wheel; a copy of the qualified jury wheel for the indicting

grand jury; and any manuals or other documents describing how the

grand jury was selected in this case.            [Inspection Motion at 3-

6.]     Although district courts are required to keep statistics

about the operation of their jury systems and they commonly do


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this through regular JS-12 reports, the United States District

Court for the District of Hawai`i (“district court”) has not

recently generated JS-12 reports.       It does however, have the raw

data which can be used to compile such reports.          [Mem. of Points

& Auth. in Supp. of Inspection Motion at 4-5.]          Defendant also

asks the Court to continue his trial to allow him time to inspect

the jury records and for any challenge that he brings regarding

the jury selection process to be resolved.        [Inspection Motion at

2.]

          Defendant suspects that, while the demographic

composition of the population in the district from the 2000

Census changed by the middle of the decade, the grand and petit

jury pool has not reflected that change.        [Mem. of Points & Auth.

in Supp. of Inspection Motion at 6-7, 12.]        Defendant argues that

his concern and need for the jury records are heightened by the

fact that: the district court apparently does not keep readily

ascertainable records of juror demographics; the district court

will be implementing a new jury selection process and its

effectiveness will not be established before Defendant’s trial;

and the possibility of the death penalty increases the importance

of propriety in the jury selection process.         Defendant, however,

acknowledges that the relevant statutes and case law do not

establish that the right of access to jury records increases with

the severity of the potential punishment.        [Id. at 13-16.]


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               In its response, the Government recognizes Defendant’s

unqualified right to certain jury records, but it argues that

many of the records Defendant seeks were produced to the defense

according to this Court’s December 4, 2006 order granting in part

and denying in part Defendant’s Motion for Disclosure of

Ministerial Grand Jury Records.          [Gov.’s Response to Inspection

Motion at 2-4.]       The Government states that it is also willing to

produce: the district court’s plan for jury selection; the list

of names from which Grand Jury Panels 04-II, 05-I, and 06-I were

selected; and the 28,751 jury questionnaires used to select the

qualified jurors for Panel 05-I (the grand jury that handed down

both of Defendant’s indictments), provided that the potential

jurors’ addresses and telephone numbers are redacted.2              [Id. at

4-5.]       The Government states that it will cost $4,977.81 to

prepare two sets of the questionnaires, one for Defendant and one

for the Government.       The Government argues that the district

court should bear such cost because it did not keep JS-12

reports.       The Government, however, asserts that review of these

questionnaires is a relatively simple process and therefore it is

not necessary to appoint an expert to assist Defendant or to




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       The Government agrees that the questionnaires themselves
are discoverable because the district court did not compile a JS-
12 report for that period.

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continue the trial date.3      [Id. at 6-7.]    In addition, the

Government addresses the potential merit of Defendant’s

anticipated argument that African-Americans are underrepresented

in the jury pool.    [Id. at 7-9.]

          In his reply, Defendant acknowledges that he received

additional records from the Government since the filing of the

Motion.   Defendant, however, argues that he needs further

documents to determine whether the district court has complied

with the Act.   [Reply at 2, 8.]

           Defendant argues that does not need to prove that his

ethnicity was underrepresented in the jury pool in order to

establish a fair cross section claim.         Defendant also argues that

a stay of the proceedings is one of the available remedies for a

substantial failure to comply with the Act and that the Court

should stay the case until the disclosures of the jury records

are made so that the parties can review the information.

Defendant argues that, even if the district court produces a JS-

12 report, he is still entitled to the raw data used to compile

the report so that he can verify the report’s contents.             Such

confirmation is necessary because the district court did not keep



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       Defense counsel states in his declaration that, where
statistics for a fair cross section challenge have to be compiled
“from scratch”, the “work is normally carried out by a Ph.D.
level researcher, knowledgeable in the operation of jury systems,
and current on information about demographic research.”
[Inspection Motion, Decl. of Counsel at ¶ 14.]

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consistent JS-12 records.      [Reply at 3-4.]    Defendant also

reiterates that he is entitled to information about the current

operation of the jury selection process because it will affect

the selection of his petit jury.        [Id. at 5.]

          In the Government’s supplemental response, it argues

that Defendant is not entitled to a stay merely because the

district court has not prepared JS-12 reports.          A stay is only

warranted for a substantial failure to comply with the Act and

the failure to prepare the JS-12 report is only a technical

violation which can be easily remedied.        Based on information

from the Clerk of the Court, the report could be ready by the end

of April and Defendant could easily prepare his fair cross

section challenge by the July 2, 2007 pretrial motions deadline.

[Gov.’s Supp. Response to Inspection Motion at 2-4.]

          The Government recognizes that the district court need

not address the issue of whether Defendant has standing to raise

a fair cross section claim regarding the alleged

underrepresentation of another ethnic group until Defendant files

a substantive motion.    The Government, however, notes its

disagreement with one of the cases that Defendant cited in

support of his position on the issue.4        [Id. at 5-6.]



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       The Government also argued that Defendant was not entitled
to the names of the potential jurors on the master jury wheel.
[Gov.’s Supp. Response to Inspection Motion at 6-7.] The
Government, however, subsequently withdrew this objection.

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           In his reply to the Government’s Supplemental Response,

Defendant points out that, although the Government focuses on the

district court’s failure to maintain JS-12 reports, he does not

allege that the failure to maintain the reports is the only way

that the district court failed to comply with the Act.              Thus, the

compilation and production of the JS-12 report will not address

all of his concerns.     For example, the district court’s

questionnaire does not include all of the ethnicities reflected

in the 2000 Census and some of the omitted ethnicities are

critical groups in the Hawai`i population.        Defendant also seeks

evidence of the court policies on disqualification, which court

personnel informed him are transmitted by word of mouth, as well

as information about how the district court and its contractor

operates the random selection plan for selecting jury lists.

[Def.’s Supp. Reply re Inspection Motion at 3-8.]              Defendant also

argues that United States Supreme Court case law clearly

establishes that he, an African-American, has standing to bring a

fair cross section claim alleging that another ethnic group was

improperly excluded from the jury pool.       [Id. at 8-10.]

II.   Motion to Compel

           The Government seeks an order compelling Defendant to

disclose which ethnic group, or groups, he believes was

underrepresented in Grand Jury Panel 05-I.        The Government states

that it conceded Defendant’s right to some of the requested jury


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records based on his representation that he has a good faith

basis to file a motion challenging the district court’s jury

selection process.    The Government points out that, in order to

establish a prima facie violation of the fair cross section

requirement, Defendant must establish that: the group which was

allegedly excluded is a distinct group in the community; the

representation of that group in the jury venires does not fairly

and reasonably reflect the group’s percentage in the community;

and the underrepresentation is due to the systematic exclusion of

the group in the jury selection process.        The Government concedes

that it has been unable to find a statutory requirement that a

defendant make a prima facie case before requesting jury

selection data, but the Government asserts that he is not

entitled to an unrestricted fishing expedition.          It argues that

Defendant should have a good faith basis for requesting jury

records, particularly in light of the significant expense that

the district court and the parties will incur in producing and

evaluating the records.

          In his memorandum in opposition, Defendant argues that

he has a right to the jury records and that the law does not

require him to allege a specific cause or even a good faith basis

for his request.     Further, insofar as Defendant does not

currently have access to the Court’s records, he cannot identify

what challenges he may raise concerning the district court’s jury


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selection process.    Although he has theories about which groups

were underrepresented, he cannot test these theories without the

jury records, particularly in light of the fact that the district

court has not kept statistical compilations regarding the

composition of its jury pool.      Defendant also stresses that,

although he will ultimately have the burden to prove a

constitutional or statutory violation, he need not satisfy that

burden in order to obtain the jury records.        All he need do is

allege that he is preparing a motion challenging the jury

selection process.

          In its reply, the Government argues that the Act and

Test require Defendant to disclose the basis of his planned fair

cross section challenge.      The Government clarifies that it is not

asking Defendant to make a prima facie case of a fair cross

section violation.    It only wants Defendant to state whether he

is preparing a motion challenging the district court’s jury

selection process and which group, or groups, he alleges was

underrepresented.    Defendant stated in his opposition that he has

theories about which groups were underrepresented; the Government

wants him to disclose those theories.        The Government argues that

this is necessary to ensure that he is not engaging in a fishing

expedition that would waste the Court’s and the parties’ time.

                               DISCUSSION

          The Act states that: “It is the policy of the United


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States that all litigants in Federal courts entitled to trial by

jury shall have the right to grand and petit juries selected at

random from a fair cross section of the community in the district

or division wherein the court convenes.”        28 U.S.C. § 1861; see

also U.S. Const. amend. VI (“In all criminal prosecutions, the

accused shall enjoy the right to a speedy and public trial, by an

impartial jury of the State and district wherein the crime shall

have been committed . . . .”); United States v. Rodriguez-Lara,

421 F.3d 932, 938 n.2 (9th Cir. 2005) (“[t]he test for a

constitutionally selected jury is the same whether challenged

under the Sixth Amendment of the Constitution or under the Jury

Selection and Service Act.” (citation and quotation marks

omitted)).

               The Act also provides that: “No citizen shall be

excluded from service as a grand or petit juror in the district

courts of the United States . . . on account of race, color,

religion, sex, national origin, or economic status.”            28 U.S.C. §

1862.       Under the Act, the district court is required to have a

written plan for random selection of grand juries and petit

juries, according to the objectives in §§ 1861 and 1862.             See 28

U.S.C. § 1863.       If a grand jury or petit jury is selected in

violation of the Act’s fair cross section guarantee,5 a defendant


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       To establish a prima facie case of a fair cross section
violation, the defendant must show:
                                                   (continued...)

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is entitled to relief, even without a showing of prejudice.               See

Rodriguez-Lara, 421 F.3d at 940-41.

             In criminal cases, before the voir dire
             examination begins, or within seven days after the
             defendant discovered or could have discovered, by
             the exercise of diligence, the grounds therefor,
             whichever is earlier, the defendant may move to
             dismiss the indictment or stay the proceedings
             against him on the ground of substantial failure
             to comply with the provisions of this title in
             selecting the grand or petit jury.

28 U.S.C. § 1867(a).     Such a motion must contain a “sworn

statement of facts which, if true, would constitute a substantial

failure to comply with the provisions” of the Act.            § 1867(d).

If the motion contains the sworn statement, the litigant is

entitled to present supporting evidence to the court.            If the

court determines that there was a substantial failure to comply

with the Act in the selection of the grand jury, the court may



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         (...continued)
             (1) that the group alleged to be excluded is a
             “distinctive” group in the community; (2) that the
             representation of this group in venires from which
             juries are selected is not fair and reasonable in
             relation to the number of such persons in the
             community; and (3) that this underrepresentation
             is due to systematic exclusion of the group in the
             jury-selection process.

Rodriguez-Lara, 421 F.3d at 940 (quoting Duren v. Missouri, 439
U.S. 357, 364 (1979)). “Once the defendant has established a
prima facie case, the burden shifts to the government to show
that ‘a significant state interest be manifestly and primarily
advanced by those aspects of the jury-selection process . . .
that result in the disproportionate exclusion of a distinctive
group.’” Id. (quoting Duren, 439 U.S. at 367-68) (alteration in
original).

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either dismiss the indictment or stay the proceedings pending the

selection of a grand jury according to the Act.          If the court

determines that there was a substantial failure to comply with

the Act in the selection of the petit jury, the court must stay

the proceedings pending the selection of a petit jury according

to the Act.     See id.

             In order to obtain evidence to support the sworn

statement, the litigant is entitled to “extremely liberal access

to otherwise non-public jury selection records[.]”            United States

v. Layton, 519 F. Supp. 946, 951 (N.D. Cal. 1981).

             The contents of records or papers used by the jury
             commission or clerk in connection with the jury
             selection process shall not be disclosed, except .
             . . as may be necessary in the preparation or
             presentation of a motion under subsection (a),
             (b), or (c) of this section . . . . The parties
             in a case shall be allowed to inspect, reproduce,
             and copy such records or papers at all reasonable
             times during the preparation and pendency of such
             a motion. . . .

§ 1867(f).     The Supreme Court has stated that this provides

litigants with “essentially an unqualified right to inspect jury

lists.”   Test v. United States, 420 U.S. 28, 30 (1975); see also

Layton, 519 F. Supp. at 958 (“This right is virtually absolute:

the only limitation on this right of access is that the

inspection must be done at reasonable times.” (citation and

quotation marks omitted)).     Such access is required to insure

that juries are selected at random from a fair cross section of

the community.     See Test, 420 U.S. at 30.

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             A defendant need not show a likelihood of success on

the merits of his jury selection challenge.        See United States v.

Diaz, 236 F.R.D. 470, 477 (N.D. Cal. 2006) (citing United States

v. Beaty, 465 F.2d 1376, 1380 (9th Cir. 1972)).          To be entitled

to the jury lists and relevant demographic data, he need only

allege that he anticipates filing a motion challenging the jury

selection procedures.      See id. (citing United States v. Royal,

100 F.3d 1019, 1025 (1st Cir. 1996)).        While a motion challenging

the jury selection process must be accompanied by a sworn

statement of facts, that requirement does not apply to a motion

to gain access to jury selection records.        See id.

I.      Motion to Compel

             The Government argues that, before Defendant obtains

the requested jury records, he should disclose which ethnic

group, or groups, he suspects was underrepresented in the jury

pool.     In the present case, the Inspection Motion states that

Defendant “is preparing a motion challenging the District’s jury

selection procedures.”      [Mem. of Points & Auth. in Supp. of

Inspection Motion at 2.]      That is all he need do to obtain access

to jury records.     Defendant need not allege a good faith good

faith basis for his anticipated challenge to the district court’s

jury selection process, nor does he need to give the Government

advance notice of the ethnic group, or groups, that he suspects

is underrepresented in the jury pool.        The Government’s Motion to


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Compel is therefore DENIED WITHOUT PREJUDICE.

II.   Inspection Motion

      A.   Production of Jury Records

           The Government acknowledges that Defendant has a right

to inspect the district court’s jury records in order to prepare

a motion challenging the jury selection process.           The Government

does not object to the production of the requested documents, to

the extent that they exist, as long as the potential jurors’

personal information is redacted.

           Insofar as Defendant has “essentially an unqualified

right to inspect jury lists,” see Test, 420 U.S. at 30, this

Court GRANTS Defendant’s request for access to the jury records

identified in the Inspection Motion.         The Court, however, finds

that there is good cause6 to redact the potential jurors’

personal information, including addresses, telephone numbers,

birth dates, and social security numbers, because of their

privacy interests in this information and because such

information is not relevant to Defendant’s potential fair cross

section challenge.   See Fed. R. Crim. P. 16(d)(1) (“At any time

the court may, for good cause, deny, restrict, or defer discovery

or inspection, or grant other appropriate relief.”); see also


      6
       To the extent Defendant may submit the documents in
support of a substantive motion (e.g., a motion to dismiss), the
Court finds that there are compelling reasons to redact this
information as well. See Kamakana v. City & County of Honolulu,
447 F.3d 1172, 1178-79 (9th Cir. 2006).

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Diaz, 236 F.R.D. at 481 (ordering the disclosure of jury lists

and jury wheels but prohibiting the disclosure of personal

information).

             This Court therefore ORDERS the Office of the Clerk of

the Court (“Clerk’s Office”) to produce the records, including

general information about the currently proposed changes in the

district court’s procedures for selecting juries from the jury

wheel.     The Court also ORDERS the Clerk’s Office to redact all of

the potential jurors’ personal information before producing such

records.     The Clerk’s Office shall produce one copy of each

document to each party, at the expense of the Clerk’s Office.

The Clerk’s Office shall provide the copies via CD-ROM, or

another media that is acceptable to the parties.          The Clerk’s

Office need only produce the records to the extent that they

exist, but the Court ORDERS the Clerk’s Office to compile and

produce a JS-12 report for Grand Jury Panel 05-I.             The production

of the JS-12 report is in addition to the production of the

individual juror questionnaires for the master jury wheel from

which Grand Jury Panel 05-I was selected.        The Court DIRECTS the

parties to meet and confer with the Clerk of the Court, or her

designee, to determine deadlines for, and the format of, the

production.     The Court also DIRECTS the parties to advise this

Court, in writing, of the outcome of the meeting by Friday, April

27, 2007.


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     B.   Other Requested Relief

          Defendant argues that this Court should continue the

trial or stay the case to allow him to review the jury records

and bring a challenge to the district court’s jury selection

process, if appropriate.      Defendant’s request is premature.            At

the present time, it appears that the parties will be able to

review the jury records and file the appropriate motions within

the existing trial deadlines.      Defendant’s request for a

continuance or stay is therefore DENIED WITHOUT PREJUDICE.                After

he has reviewed the document production, Defendant can file a

motion to continue, if there is a reasonable basis for such

continuance.

          The Court also notes that it is not clear whether the

Inspection Motion requests the appointment of an expert to assist

him regarding demographic research.      To the extent that Defendant

is making such a request, it is premature.        Defendant’s request

is DENIED WITHOUT PREJUDICE.      Defendant may file a motion for the

appointment of an expert after he has reviewed the document

production.

          On March 13, 2007, Defendant filed a Request for

Setting of Jury Records Discovery Hearing When Specific Court

Personnel are Available to the Court (“Request”).             Defendant

asked that the hearing on the Inspection Motion be set when the

Clerk of the Court and the Supervisor of Jury Services were


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available to give testimony regarding the availability of

specified jury records.       On March 13, 2007, the Government filed

a response stating that it had no objection to the Request.              The

Court finds that testimony from the Clerk of the Court and the

Supervisor of Jury Services is not necessary for the resolution

of the Inspection Motion.       Defendant’s Request is therefore

DENIED WITHOUT PREJUDICE.       After they have reviewed the document

production, either party may request an evidentiary hearing to

obtain testimony from the relevant district court personnel.

          Finally, this Court notes that it need not reach the

merits of Defendant’s anticipated claim that African-Americans,

or another ethnic group, are underrepresented in, and have been

systematically excluded from, the district court’s jury pool.

Either this Court or the district judge will address this issue

if and when Defendant files a substantive motion challenging the

district court’s jury selection process.

                                CONCLUSION

          On the basis of the foregoing, Defendant’s Motion for

Order for Inspection and Copying of Court’s Jury Records, filed

February 5, 2007, is HEREBY GRANTED IN PART and DENIED IN PART.

The Inspection Motion is GRANTED to the extent that this Court

orders the production of the jury records requested therein,

according to the Court’s instructions listed above.            In all other

respects, the Inspection Motion is DENIED WITHOUT PREJUDICE.


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Defendant’s Request for Setting of Jury Records Discovery Hearing

When Specific Court Personnel are Available to the Court, filed

March 13, 2007, is also DENIED WITHOUT PREJUDICE.             After

Defendant has had the opportunity to review the document

production, he may refile any necessary motions seeking: a

continuance or stay of the trial; the appointment of an expert to

assist in the analysis of the jury records; and/or an evidentiary

hearing to take testimony from district court personnel.

          Further, the Government’s Motion to Compel Defendant

Naeem Williams to Disclose which Ethnic Minorities He Alleges

Were Underrepresented in Grand Jury Panel 05-I, filed April 2,

2007, is HEREBY DENIED WITHOUT PREJUDICE.        The Government may

refile a motion to compel the disclosure of the allegedly

underrepresented groups after the parties have had time to review

the document production.

          IT IS SO ORDERED.

          DATED AT HONOLULU, HAWAI`I, April 23, 2007.



                                  /S/ Leslie E. Kobayashi
                                 Leslie E. Kobayashi
                                 United States Magistrate Judge


U.S.A. V. NAEEM J. WILLIAMS; CR. NO. 06-00079-01 DAE-LEK; ORDER
GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION FOR ORDER
FOR INSPECTION AND COPYING OF COURT’S JURY RECORDS AND DENYING
THE GOVERNMENT’S MOTION TO COMPEL DEFENDANT NAEEM WILLIAMS TO
DISCLOSE WHICH ETHNIC MINORITIES HE ALLEGES WERE UNDERREPRESENTED
IN GRAND JURY PANEL 05-I

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